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                                                      1    Glidewell Laboratories v. Keating Dental Arts, Inc.
                                                           United States District Court, Central, Case No. SACV11-01309-DOC (ANx)
                                                      2
                                                                                       CERTIFICATE OF SERVICE
                                                      3
                                                                    I hereby certify that on December 3, 2012, I electronically filed the document
                                                      4
                                                           described as JAMES R. GLIDEWELL DENTAL CERAMICS, INC.'S REPLY
                                                      5
                                                           IN SUPPORT OF GLIDEWELL’S MOTION FOR PARTIAL SUMMARY
                                                      6
                                                           JUDGMENT RE INFRINGEMENT OF A FEDERALLY REGISTERED
                                                      7
                                                           MARK (FIRST CAUSE OF ACTION) AND DISMISSAL OF
                                                      8
                                                           DEFENDANT’S SECOND AFFIRMATIVE DEFENSE AND FIRST
                                                      9
                                                           COUNTERCLAIM with the Clerk of the Court using the CM/ECF System which
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                                                           will send notification of such filing to the following:
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SNELL &L.L.P.WILMER

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                        350 SOUTH GRAND AVENUE




                                                      12
                          TWO CALIFORNIA PLAZA




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                                                                                                      dba GLIDEWELL LABORATORIES
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                                                      28                                                                        Certificate of Service
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